 Case: 1:05-cr-00015-RLF-GWB            Document #: 1394        Filed: 04/17/14     Page 1 of 4



                   IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                               DIVISION OF ST. CROIX


                                                     )
THE UNITED STATES OF AMERICA,                        )
                                                     )       Crim. No. 1:05-15
                       Plaintiff,                    )
              v.                                     )
                                                     )
                                                     )
UNITED CORPORATION, et al.,                          )
                                                     )
                       Defendants.                   )
                                                     )


                   MEMORANDUM, ORDERS, AND RECOMMENDATION

        By agreement of counsel and the parties the sentencing phase of the captioned matter was

mediated on June 19 and 20, 2013, before the undersigned.

        Pursuant to the understandings to the achieved at the mediation, and the payment of certain

funds to the V.I. Bureau of Internal Revenue, a Second Addendum to the Plea Agreement and

Sentencing Memorandum was executed. The matter was thereafter scheduled for sentencing on

July 16, 2013 before the Honorable Wilma Lewis, Chief Judge of the District Court.

        At the hearing Judge Lewis considered the matters presented, including whether the parties

had complied with the conditions precedent for the Rule 11(c)1C plan and whether the Temporary

Restraining Order should be extended.

        After a thorough consideration of the matters presented the sentencing hearing was

continued without date.

        At the mediation counsel advised that they had represented the defendant, as well as

dismissed defendants, pursuant to a joint defense agreement which had been negotiated early in the

litigation.
 Case: 1:05-cr-00015-RLF-GWB              Document #: 1394          Filed: 04/17/14   Page 2 of 4



USA, et al. v. United Corp., et al.
Criminal No. 1:05-15
Page 2


         Because of a substitution of counsel and divergence in trial strategy the Joint Defense

Agreement was concluded on September 19, 2012.

         At the close of the mediation the attorneys’ billing statements were requested for in camera

review. After a thorough review of the invoices presented by counsel and the retained accounting

experts, the mediator concluded that because of the termination of the Joint Defense Agreement

the invoices should be resubmitted in camera for consideration of work performed prior to

September 19, 2012.

         Invoices were received from the Law Offices of Pamela Lynn Colon, LLC., Gordon C.

Rhea, P.C., Andreozzi, Bluestein, Fickess, Muhlbauner Weber, Brown LLP, and Freed Maxick,

CPA PC. Invoices were not received form Feurst, Ittleman, David, and Joseph, P.L. nor from

Nizar Dewood, Esq.

         The subject invoices were reviewed in camera and the work performed by counsel and the

accountants was in furtherance of the object of the Joint Defense Agreement. The invoices

submitted are approved as follows:

                    Pamela Lynn Colon, LLC             $46,393.95

                    Gordon C. Rhea, PC.                 16,737.90

                    Andreozzi, Bluestein LLP           118,418.57

                    Freed Maxick CPA, PC               151,350.00

         Accordingly, the sum of $332,900.42 is directed to be released for the restrained assets of

the defendant to the Escrow Account of Andreozzi, Bluestein, in accordance with prior protocol

established by Judge Raymond Finch, for distribution to counsel and experts in the sums approved

pursuant to the Joint Defense Agreement.
 Case: 1:05-cr-00015-RLF-GWB             Document #: 1394        Filed: 04/17/14     Page 3 of 4



USA, et al. v. United Corp., et al.
Criminal No. 1:05-15
Page 3


         At the initial sentencing hearing before Chief Judge Lewis it was noted that the agreement

with respect to identification and engagement of a monitor had not been concluded.

         On August 15, 2013 the firm of Kaufman, Rossin and Co. of Miami, Florida entered into an

agreement with the defendant to perform the subject services. The mediator is advised that they

have commenced their duties, and with the concurrence and agreement of the United States,

United Corp. is directed to make timely payment of their invoices in accordance with the

accompanying order.

         With respect to storage of and access to the voluminous documents generated by the

litigation and currently in the custody of the Federal Bureau of Investigations, the mediator is

advised that Joyce Bailey has been engaged to undertake the responsibility and her expenses will

also be paid by the defendant United Corp.

         The mediator is further advised that former defendants Waheed Mohammad Hamed and

Waleed Mohammad Mahed have made full payment of their tax obligations for the years 2002

through 2012 pursuant to the terms of the plea agreement.

         The premises considered, it is hereby

         ORDERED, that disbursement be made from the restrained assets of the defendant for

professional services in accordance with the accompanying Order; and it is further

         ORDERED, that the CPA/monitor be compensated in accordance with the accompanying

Order; and it is further

         ORDERED, that the custodian of the documents and discovery be compensated in

accordance with the accompanying Order; and it is further
 Case: 1:05-cr-00015-RLF-GWB          Document #: 1394      Filed: 04/17/14   Page 4 of 4



USA, et al. v. United Corp., et al.
Criminal No. 1:05-15
Page 4


         RECOMMENDED, that the matter be restored to the sentencing calendar of Chief Judge

Lewis for her determination with respect to whether the conditions precedent for sentencing

pursuant to Rule 11(c)1C have been fully completed.


ENTERED:          S\
                  GEOFFREY W. BARNARD
                  UNITED STATES MAGISTRATE JUDGE
